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                    BEFORE THE UNITED STATES JUDICIAL
                    PANEL ON MULTIDISTRICT LITIGATION

      IN RE: ORAL PHENYLEPHRINE MARKETING AND SALES PRACTICES
                                    LITIGATION:
                                    MDL No. 3089

                             SCHEDULE OF ACTIONS


1. Sharon Rourk v. Haleon, PLC - District of New Jersey, 3:23-cv-20478 - Assigned to:
   Judge Robert Kirsch - Referred to: Magistrate Judge Rukhsanah L. Singh


                                                     Respectfully submitted,

                                                     /s/ Philip Furia
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